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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                         )
 GRACE, et al.,                          )
                                         )
              Plaintiffs,                )
                                         )
 v.                                      )    Civil Action No. 1:18-cv-01853-EGS
                                         )
 MATTHEW G. WHITAKER, in his             )
 Official Capacity as Acting Attorney    )
 General of the United States, et al.,   )
                                         )
              Defendants.                )
                                         )

                             DEFENDANTS’ STATUS UPDATE

                                             JOSEPH H. HUNT
                                             Assistant Attorney General

                                             WILLIAM C. PEACHEY
                                             Director

                                             EREZ REUVENI
                                             Assistant Director

                                             CHRISTINA P. GREER
                                             Trial Attorney
                                             Office of Immigration Litigation
                                             U.S. Department of Justice, Civil Division
                                             450 5th Street NW
                                             Washington, DC 20001
                                             Tel. (202) 598-8770
                                             Christina.P.Greer@usdoj.gov

                                             JOSEPH DARROW
                                             JOSHUA S. PRESS
                                             Trial Attorneys

Dated: January 18, 2019                      Attorneys for Defendants
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                             DEFENDANTS’ STATUS UPDATE

        Defendants respectfully submit this Status Update in accordance with their representations

in the Status Update filed with the Court on January 11, 2019. ECF No. 113.

        Since the January 11, 2019 update, counsel for Defendants have continued to confer with

counsel for Plaintiffs by phone and email to work out the logistics of returning the removed

Plaintiffs to the United States. There are two remaining issues.

        First, due to the lapse in appropriations, the normal process for paying departure and

passport fees has become complicated. The Department of Homeland Security (“DHS”) has been

investigating various means of addressing the issue, and counsel for Defendants discussed the

potential options with counsel for Plaintiffs. This morning DHS informed Defendants’ counsel of

a means for taking care of the departure fees that would allow the Plaintiffs from El Salvador to

travel to the United States next week, and that process has been communicated to Plaintiffs’

counsel.

        Second, as discussed in the January 11, 2019 Status Update, the parties do not agree on the

process that will be applied to the Plaintiffs once they are returned to U.S. soil. See ECF No. 113.

Defendants maintain that the Court’s order to provide Plaintiffs with new credible fear interviews

envisions utilizing the status quo credible fear screening and detention regime (to be conducted

without regard to the enjoined aspects of Matter of A-B- and the Policy Memo), and does not

require a unique process whereby Plaintiffs would be released prior to the conduct of a credible

fear screening other than in accordance with the established procedures for release from custody.

        Defendants’ counsel continue to work with Plaintiffs’ counsel to facilitate return and will

provide an additional status update to the Court regarding those efforts by Friday, January 25,

2019.
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                                          Respectfully submitted,

                                          JOSEPH H. HUNT
                                          Assistant Attorney General

                                          WILLIAM C. PEACHEY
                                          Director

                                          EREZ REUVENI
                                          Assistant Director

                                    By:   /s/ Christina P. Greer
                                          CHRISTINA P. GREER
                                          Trial Attorney
                                          Office of Immigration Litigation
                                          U.S. Department of Justice, Civil Division
                                          450 5th Street NW
                                          Washington, DC 20001
                                          Tel. (202) 598-8770
                                          Christina.P.Greer@usdoj.gov

                                          JOSEPH DARROW
                                          JOSHUA S. PRESS
                                          Trial Attorneys

Dated: January 18, 2019                   Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 18, 2019, I electronically filed the foregoing document

with the Clerk of the Court for the United States District Court for the District of Columbia by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                            By:    /s/ Christina P. Greer
                                                   CHRISTINA P. GREER
                                                   Trial Attorney
                                                   United States Department of Justice
                                                   Civil Division
